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                   IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


STEPHEN WILCOX,
              Plaintiff


        v.

U.S. DEPARTMENT OF COMMERCE                        CIVIL ACTION NO.
601 Walnut Street, #580, Philadelphia Pa 19106
And 1401 Constitution Ave. NW, Wash. DC 20230;


INVESTIGATIONS AND THREAT
MANAGEMENT SERVICE (“ITMS”),
                                                    Jury Trial Demanded
A Division of
THE DEPARTMENT OF COMMERCE;


GEORGE LEE,
In his official capacity as
DIRECTOR OF THE INVESTIGATIONS AND
THREAT MANAGEMENT SERVICE AND
THE DEPARTMENT OF COMMERCE;
        And
JASON BOOKSTABER
And
TOM VALENTINE
In their official capacity as employees of
ITMS And
THE DEPARTMENT OF COMMERCE;
                Defendants



                                     COMPLAINT
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                                            COMPLAINT


Plaintiff brings this complaint for violations of Mr. Wilcox’s rights and for personal injuries sustained

and for economic damages against the United States Department of Commerce (“DOC”), and against

Investigations and Threat Management Service (“ITMS”) a Division of the DOC, Defendants George

Lee, in an official capacity as Assistant Director of the Investigations and Threat Management

Service; Defendants Jason Bookstaber (“Bookstaber”) and Tom Valentine (“Valentine”),

employees of ITMS and sued in their official capacity as employees of the U. S. Department of

Commerce. Plaintiff is requesting relief under, inter alia, the United States Constitution and the

Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 1346(b) and 2672.

                                       I.     BACKGROUND

Anticipating the DOC’s denial of Plaintiff’s timely filed November 2021 FTCA administrative claim,

Plaintiff filed, although filed slightly prematurely, an original Amended Complaint on November 8,

2021 in the Eastern District of Pennsylvania (Case No. 2:21-cv-04913), to protect and toll the

Statute of Limitations with regard to allegations and counts which were arguably nearing a two

(2) year Statute of Limitations (December 6, 2021). Plaintiff received the written denial of

Plaintiff’s administrative complaint by the DOC on January 3, 2022. (See Exhibit 1, attached).

Defendants were served and were granted an extension to respond to the Amended Complaint for an

additional 60 days, by agreement. Defendants’ response to the Amended Complaint is due on or

before March 14, 2022.

Plaintiff files this Complaint after discussions with Defendants’ Assistant U.S. Attorney in the

Amended Complaint litigation matter, wherein Counsel for both Plaintiff and Defendants were

discussing the issues and anticipated possible procedural and/or jurisdictional objections to
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 Plaintiff’s Amended Complaint.              In       response     to    Plaintiff's Counsels’ discussions regarding

 Plaintiff filing a Second Amended                    Complaint     to    cure    any possible     FTCA jurisdictional

 or procedural      objections        and anticipated Motions, Defendants suggested, and the parties agreed,

 that Plaintiff file this complaint to cure any jurisdictional defect under the FTCA. Therefore,

 Plaintiff files this     Complaint        as     more     fully addressed       herein   and    in     support thereof,

 upon personal knowledge as well as information and belief, Plaintiff alleges the following:

                                II.       JURISDICTION AND VENUE

1.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331, as

Plaintiff’sclaimsariseundertheConstitutionandlawsoftheUnitedStates.ThisCourt has jurisdiction to grant

relief in this action pursuant to 28 U.S.C. § 1346(b) and 2672, as Plaintiff brings claims under the Federal

Tort Claims Act, et al.

2.      Venue is proper in the Eastern District of Pennsylvania under 28 U.S.C. § 1402(b) because

the events giving rise to these claims occurred in this judicial district.

3.      Plaintiff      timely    filed      an        administrative     complaint    and       claim    under    the

FTCA      seeking damages for injuries sustained related to this matter as further described herein, in

November, 2021.

4.      By    letter    dated     January        3,     2022,     the    DOC     denied   Plaintiff’s administrative

claim    (See Exhibit 1, attached). In the denial notification, the DOC advised Plaintiff that if he

disagreed with the denial, he had the right to file suit in federal district court “no later than six

months after the date of mailing this notification.”

5.      This instant suit is timely filed under the FTCA, 28 U.S.C. § 2401(b), as it is being

filed within six months of the date of the mailing of the denial of the administrative claim and All

statutes of limitations on all counts herein are tolled .

6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because Plaintiff’s causes of

action arise under the Constitution and laws of the United States.
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7.          Sovereign immunity for non-monetary relief is waived by 5 U.S.C. § 702, and by the fact

that all Defendants acted unconstitutionally and beyond statutory authority.

8.        Venue is appropriate in this judicial district under 28 U.S.C. § 1391(b) and (e).

9.        The court has jurisdiction under 28 U.S.C. § 1361 because Plaintiff seeks, inter alia, writs of

 mandamus to compel officers and employees of the United States and its agencies to perform duties

 owed to Plaintiff and required under law.

                                             III. PARTIES

10.           Plaintiff is a citizen of the United States and resides in the Commonwealth of

Pennsylvania.

11.             Plaintiff was employed by the United States government from 1996 until 2019.

12.           Defendant U.S. Department of Commerce (“DOC”) is an Executive department, 5 U.S.C.

 § 101, and an “agency” within the meaning of 5 U.S.C. § 701. DOC’s offices are located at 601 Walnut

 St # 580W, Philadelphia, PA 19106 and in the District of Columbia.

13.           Defendant George Lee, who was recently terminated by the DOC post a recent Senate

 Investigations Report due to his illegal actions as more fully described herein, served as Director of

 the Defendant Investigations and Threat Management Service (“ITMS”) a division of the U.S. DOC,

 and is sued in an official capacity.

14.           Defendants Jason Bookstaber (“Bookstaber”) and Tom Valentine (“Valentine”) were

 employees of ITMS and the Commerce Department are being sued in their official capacity.

15.           At all times relevant hereto, all Defendants, were acting within the scope of their

 employment with Defendants DOC and ITMS and all Defendants, acted independently and/or in

 concert with and/or through its servants, agents, workmen and/or employees, and/or as agents,

 servants, workmen and/or employees of each other when Defendants caused the injuries to Plaintiff

 hereinafter described.

16.             All the acts alleged to have been done or not to have been done by any or all of the
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 Defendants were done or not done by said Defendants, their agents, servants, and/or employees all of

 whom were acting within the scope of their authority with and on behalf of said Defendants.

                              IV. FACTS: NATURE OF THE ACTION

17.            Plaintiff is a career former special agent, Regional Export Control Officer (ECO), and

Intelligence/Counterintelligence Officer, a career civil servant and 2018 Gold Medal recipient the

highest honorary award given by the Department, granted by the DOC Secretary, Wilbur Ross, for

 distinguished performance characterized by extraordinary, notable, or prestigious contributions that

 impact the mission of the Commerce Department.

18.            Plaintiff served the U.S. government in a sworn federal law enforcement position with

 fidelity, bravery, and integrity for approximately 24 years, defending the United States against enemies

 both foreign and domestic.

19.            Being a public servant federal agent and working with the intelligence community was

 Wilcox’s life and all Wilcox wanted to do since Wilcox was a child.

20.            While executing the duties of his employment, Wilcox served unselfishly and was

 awarded numerous promotions and did many unselfish and amazing things for this country without

 seeking publicity or public praise for any of it.

21.            In January 1996, Wilcox joined the U.S. Air Force and served as a Russian Linguist for

 the National Security Agency (NSA), Ft. Meade, MD. Wilcox was honorably discharged in January

 2000.

22.                  In January of 2000, Wilcox took a position as an Intelligence Specialist with the

 Naval Information Warfare Activity (NIWA), U.S. Department of Navy, at the Suitland Federal

 Center, MD. In this capacity, Wilcox worked in unacknowledged, waived, Special Access Programs

 (“SAP”).

23.               In December 2001, Wilcox took as position as special agent (civilian 1811 job series)
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 with the Naval Criminal Investigative Service (NCIS) stationed in the Washington, DC area.

24.              During his NCIS career, Wilcox served in the DC area and in Naples, Italy, and while

 assigned in Italy, Wilcox was a liaison to multiple foreign governments for Force Protection.

25.              From 2008 until 2011, NCIS assigned Wilcox as a liaison to the Russian Federal

 Security Service (FSB) to execute a force protection Memorandum of Understanding (MoU) between

 NCIS and the FSB named “Timeshare”.

26.              While    assigned    to   the    Washington,     DC     area,   Wilcox     worked    in

 counterintelligence/counterespionage and in counterproliferation undercover operations with the FBI,

 HSI and DCIS targeting foreign governments, terrorist organizations and organized criminal elements.

 After several successful cases, Wilcox was a runner up for the Department of Defense

 Counterintelligence Award and received an Interagency Award from the Assistant Secretary for

 Homeland Security.

27.              Wilcox was also trained and worked as an Intelligence Officer conducting intelligence

 operations and investigations for the U.S. Government.

28.              In 2012, after spending several years in Italy, Wilcox returned to the U.S. and worked

 with the FBI in Houston, TX in an investigation named Bigger Game, jointly with the Bureau of

 Industry and Security (BIS). The investigation resulted in the arrest of numerous Russian speaking

 American citizens (immigrants) who were illegally exporting microelectronics to the Russian

 government.

29.              At the end of 2013, Wilcox accepted a position with BIS and reported to the

U.S. Embassy, Moscow, Russia as the Regional Export Control Officer (ECO).

30.              This position was to initially assist in creating a positive trade relationship with the

 Russian government; however, after Russia’s annexation of Crimea, the position then expanded into

 15 more countries in the region with the goal of conducting end-use monitoring and preventing Russia
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 from obtaining sensitive U.S. origin commodities for restricted uses, such as military and/or

 intelligence purposes.

31.              As the years progressed, his position was to visit companies in and around Russia in

 person, to assess what a foreign company was doing, to conduct end-use monitoring (a

 Congressionally mandated mission) on U.S. origin items exported from the U.S. and report

 information back to BIS Headquarters.

32.              As the U.S. relationship with Russia worsened, the Russian government harassed

 Wilcox and his family with increasing scrutiny, including hacking his bank accounts, etc., as well as

 conducting physical surveillance aggressively on him.

33.              He was also detained on more than one occasion by the Russian authorities for

 conducting the duties required of him by the Department of Commerce. This further included

 harassment when on travel outside of Russia. All of this was reported to each U.S. Embassies’

 Regional Security Offices (RSOs) accordingly and within State Department Policies.

34.              In 2015, the Deputy Chief of Mission at the U.S. Embassy recommended to the BIS

 Assistant Secretary David Mills and Director Kevin Kurland, Office of Enforcement Analysis, BIS,

 that Wilcox and his family be transferred outside of Russia.

35.              BIS then moved Wilcox to Frankfurt, Germany to start the BIS office responsible for

 relationships with the European Union (EU).

36.               As the BIS Export Control Officer (ECO) for U.S. Mission Russia and Germany,

 Wilcox was responsible for relationships with multiple foreign governments, industry associations,

 law firms and companies throughout 36 countries.

37.                  Wilcox was the only ECO in the history of BIS ECOs to manage two ECO foreign

posts concurrently as an AoR of 36 countries.

38.              During his time assigned outside the U.S., Wilcox was also requested by Kevin
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    Kurland and the former Deputy Secretary of Commerce (DepSec), Bruce Andrews, to act as the

    Personal Security Advisor (bodyguard) for DepSec Andrews while on travels to Beijing China and the

    Philippines to attend the Asian Pacific Exchange Conference (APEC) in 2015 and 2016.

39.                    In 2018, for his contributions to investigations involving illicit Russian procurement,

    Wilcox was awarded a Gold Medal from U.S. Department of Commerce Secretary Wilbur Ross1.

40.                     The Gold Medal award is the highest honorary award given by the Department and

    is granted by the Secretary for distinguished performance characterized by extraordinary, notable, or

    prestigious contributions, that impact the mission of the Department and/or one or more operating

    units.2

41.                    At the end of 2018, Wilcox returned to the U.S. from Germany and was assigned to

    the BIS Washington Field Office (SAC Nasir Khan).

42.                    After returning from the position, Wilcox did not have re-instatement with BIS as a

    special agent and BIS senior leadership thought highly enough of him to ensure he had a position with

    the Bureau upon his return.3

43.                    Because of this transition from diplomatic service to domestic service, Wilcox was

    moved from Excepted Service (as an ECO) to Career Conditional (as a BIS special agent) and,

    although he served the government for nearly 23 years, told that he had to serve a one-year probation.


1
    https://www.commerce.gov/sites/default/files/202002/Honor%20Awards%20Book%20Sept11_18.pdf
2
  Steve Wilcox and BIS was recognized for working diligently over the past 3 years (2016, 2017 and 2018) on an
investigation that successfully identified serious violations of U.S. export control laws and prosecuted its violators. The
defendants were arrested and convicted for illegally exporting micro-electronics to be used in support of foreign
government security programs, military operations, and defense space programs in both Russia and Iran. As a result of the
investigation, and the group’s efforts, the proliferation network was dismantled.
3
     When applying for federal agent jobs in OPM, veterans who served after 9/11 received a 10-point veterans’ preference.
    Veterans such as Wilcox, who served prior to 9/11, received 5 points. In the OPM system, it is very difficult to beat out
    veterans who have 10- point veterans’ preference and those who do not, do not typically qualify for a job, even if the
    applicants are more senior and have more experience. Kevin Kurland, Linda Minsker, John Sonderman, Doug
    Hassebrock, Nasir Khan, (senior BIS leadership) and others orchestrated a situation around that predicament, so that
    Wilcox could come back to BIS as a special agent and so that he did not lose Wilcox’s retirement as an 1811.
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44.            Shortly after reporting back to the U.S., in early summer of 2019, Wilcox was chosen by

Kevin Kurland from a list of people to be the Acting Assistant Director for the BIS Export Control Officer

(ECO) Program managing the BIS ECOs (attachés) assigned outside the U.S. at U.S.

Embassies throughout the world.

45.            Wilcox was then also asked (by Linda Minsker, the career-appointed Assistant

Director of the ECO program) to become the Senior ECO in Beijing, China and a liaison to China’s

Ministry of Commerce (MOFCOM), after advertising the position in the Office of

Personnel Management’s (OPM) USAJOBS system.

46.            Wilcox was the desired incumbent because of his competence, professionalism, and

reputation for being an outstanding ECO.

47.            Wilcox applied for the position and was immediately selected, and he accepted this

position, because of his sense of duty to the country.

48.            Throughout his career, Wilcox successfully maintained a Top Secret / Sensitive

Compartmented Security (SCI) Clearance with the SI/TK/GG/HCS caveats.

49.            Until August 2019, his security clearance eligibility was never challenged and was

successfully adjudicated by the Department of Defense, Central Intelligence Agency, and Department of

Commerce.

50.            As a veteran of the USAF and sworn federal agent, Wilcox always took his Oath of

Office seriously and executed the duties of his appointments faithfully.

51.            At the BIS Update Conference in 2019, Wilcox visited the ECOs who were visiting

from their overseas positions to attend the conference.

52.            At the Conference, Kevin Kurland, the Deputy Assistant Secretary (DAS) and Acting

Assistant Secretary for Export Enforcement, grabbed Wilcox from behind hugging him and said,

“Thank you [for accepting the Beijing position], please do not back out”.
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 53.               Kurland was thanking Wilcox because he (originally reluctantly) agreed to take

the position in Beijing. It was clear that BIS maintained a high opinion of Wilcox, as he was well-

liked and respected by all U.S. government agencies, internationally by foreign partners, and at all

U.S. Embassies in which he worked.

54.               In August 2019, Wilcox’s unblemished and stellar career changed due to George Lee

and ITMS’ baseless, unwarranted, illegal, grossly negligent, and reckless investigation, resulting in

the suspension of Wilcox’s clearance and his constructive discharge from federal employment.

55.               Defendant ITMS allegedly collaborates and coordinates with the Office of Security

(OSY) at the Department of Commerce to enhance protection of the Secretary and the Herbert C.

Hoover Building, among other facilities, primarily by identifying and assessing critical threats to the

Department’s mission, operations, and activities.

56.               ITMS, based in Washington, DC, employs a small team of criminal investigators and

according to the Department of Commerce, the ITMS was directed to use the full range of investigative

techniques permitted by law or regulation to identify [and] assess unreported or unrecognized threats

to the Department’s mission, operations or activities, including examining any initiative, project,

program, process, function, or incident involving the Department [and] commence or coordinate

investigations and operations to protect Departmental personnel, assets, and activities from recognized

mission-critical threats.

57.               According to the recent extensive investigation report of the U.S. Senate Committee

on Commerce, Science and Transportation, the ITMS lacks the proper legal authority to conduct

criminal investigations or engage in counterintelligence activities.

58.               Over the past sixteen years, the ITMS has operated as an investigative police force by

relying on delegations of law enforcement authority from other federal agencies. None of those
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 delegations supply the requisite authorization for ITMS to conduct criminal or counterintelligence

 investigations.

59.                Defendant Lee, early in ITMS’ existence, acknowledged that the unit had “no

 specific criminal investigative or public law enforcement authority.” Memorandum from George

 Lee, Office of Sec., Dep’t of Commerce, to Rich Yamamoto, Dir. of Sec., Dep’t of Commerce, (Apr.

 13, 2005), https://www.commerce.senate.gov/services/files/7F85FBCD-446C-4798-AC5A-

237DFC79F47.


60.                Despite this lack of authority, Defendant Lee and other ITMS leaders directed its

 agents to engage in a troubling variety of criminal and counterintelligence investigations allegedly to

 protect intangible assets, such as those related to economic intelligence, wire communications, online

 publications, employee relationships, and security clearances.

61.                Defendant Lee admits that the ITMS did not have the proper authority to engage in

 activities beyond providing protection to the Secretary and federal property.

62.                ITMS conducted “investigations” typically reserved for domestic law enforcement

 agencies and many, like Plaintiff’s, were conducted in an overzealous manner whereby agents abused

 steps in the investigative process.

63.                Defendant Lee and ITMS used a troubling and illegal variety of tactics to gather

 intelligence, including ITMS agents regular search of the office space of employees suspected of

 wrongdoing.

64.                These covert searches involved identity-concealing tactics, and also seized work

 phones and computers to perform digital content searches, practices that continued until the

 Department required the unit to cease investigative activities in March 2021.
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65.                  As in Plaintiff’s case, former ITMS agents claim that these activities often happened

 without any articulable evidence to indicate that the employee maintained suspicious connections with

 foreign actors or otherwise posed a threat to the Department.

66.                  Defendant ITMS is a subordinate component of the DOC pursuant to 28

C.F.R. § 0.1 and, under the direction of its unqualified and inexperienced director, Defendant Lee;

              a.            Has operated as a federal law enforcement and intelligence unit without legal
 authority;
              b.            For fifteen years, ran criminal probes and counterespionage activities with
 little oversight;
              c.            Illegally rummaged through the offices and computers of Commerce
 Department employees;
              d.            Investigated Americans who made disparaging comments about the Census
 on their social media accounts.
        e.                  opened investigations into people who wrote letters to the Secretary of
 Commerce;
              f.            After its recent five-month investigation, Commerce Department lawyers
 found that the ITMS lacked “adequate legal authority” to even run the criminal probes it had pursued
 for 15 years even though this lack of authority did not keep ITMS agents from running names through
 classified databases.

              g.            Has been recently shut down by the Commerce Department for egregious
 misconduct, abuse of power, ethnic targeting and reprisal by ITMS staff (including Defendants
 Lee, Valentine and Bookstaber), and other numerous rights of privacy violations.
67.                  Defendant Lee and the leadership of the ITMS were more interested in appearing

 productive to retain the ability to investigate a wide variety of purported threats with broad discretion–

 –and continue receiving substantial funding from Congress.

68.                  Wilcox’s high profile and position made him a prime target of scrutiny through the

 abuse of power exercised by Defendants including ITMS and George Lee.

69.                  In August 2019, Wilcox surprisingly received an email from the Office of Security
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 (OSY), that ITMS/OSY suspended his security clearance with no further details provided.

70.              Wilcox was denied access to the Department of Commerce Headquarters secure

 workspaces, as well as unescorted access to the BIS Field Office in Herndon, VA.

71.              Defendants ordered the Field Office to change all passcodes for entry to the office,

 notified all of the agents Wilcox worked with, and requested Wilcox surrender his office key, which

 caused Wilcox tremendous anxiety and stress.

72.              On approximately September 10, 2019, Wilcox was instructed to report to Commerce

 Headquarters on September 11, 2019 and was abusively interrogated and asked a series of questions

 (by Danielle Smith and Star Hilton) questioning his patriotism to the U.S.

73.              Wilcox asked if he was allowed to know why he was being interviewed and why his

 security clearance was suspended what was happening, and Wilcox was told “You can discuss with

 your supervisor”. However, even Wilcox’s supervisor had no idea what was going on.

74.              In October of 2019, Wilcox was told that ITMS/OSY was investigating his security

 clearance, which was actually held at the TS/SCI level by the CIA.

75.              Wilcox, after a committed, unblemished 24-year career, was informally and arbitrarily

 and baselessly labeled as a “national security threat” by Defendant ITMS.

76.              ITMS/OSY requested Wilcox report to the headquarters building so that Wilcox could

 “clarify some questions” with Defendants Bookstaber and Valentine of ITMS.

77.              Wilcox reported to Commerce and was escorted to a breakout room by Bookstaber,

 wherein Defendant Bookstaber immediately asked if he could audio tape the “interrogation” that lasted

 more than three hours, which interrogation covered the following topics:

       ï Reporting of surveillance by the Russian government… Why did Wilcox report so
         much?
       ï Reporting of foreign contacts
       ï German bank account
       ï Signing a Special Immigrant Visa packed for Natalya Shipitsina Signing a letter of
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          recommendation for Shipitsina
       ï The company Wilcox started Global Trade Compliance, LLC If Wilcox accepted any
          money while employed by BIS
       ï If Wilcox had any interests in Chinese companies
       ï About emails Wilcox sent himself from his BIS account to his personal
       account
       ï Why does Wilcox have so many email accounts?
       ï When was his last polygraph test?
       ï Has Wilcox ever been pitched by a foreign government?
       ï Has Wilcox ever given sensitive information to a foreign national?

78.              After the interrogation, Defendant Valentine said, to Wilcox “They may want you to

 take a polygraph test.” Wilcox asked who “they” are? Valentine stated, “The people who are directing

 this investigation [ITMS and George Lee]”.

79.              Valentine asked if Wilcox would submit to one. Wilcox said that he would probably

 want to discuss this with an attorney since this matter, as it is being explained to Wilcox, is an

 unclassified matter being stretched by Defendants to a classified issue involving his clearance.

80.              As reported in the recent Office of Inspector General Report, the DOC and Defendants

 Lee and ITMS failed to maintain a central classification guide to determine the proper clearance levels

 for documents generated or obtained by agents and allowing Defendants to arbitrarily label

 categorizations on documents without any formal process in place, which illegally allowed Defendants

 to categorize documents it wishes to block from public view as “classified.”

81.              In many cases, including Plaintiff’s, classification labels were allegedly even

 handwritten instead of digitally imprinted or stamped. These practices contravene the expectations of

 federal government entities tasked with handling sensitive information.

82.              Defendant Lee and ITMS also allegedly used a classified IT network (CNET) for

 improper purposes, which CNET contained over 95% unclassified material, including the majority of

 information obtained by ITMS agents as investigations unfolded.

83.              Defendants structured CNET primarily to store information for the purpose of

 blocking access to outside entities, which practice purportedly protects the ITMS from Freedom of
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 Information Act (FOIA) requests and lets the unit conduct operations without fear of mandatory

 disclosures required by evidentiary rules that proceed through the nation’s judicial system.

84.               Under Defendant Lee’s management, ITMS was allowed and encouraged to operate

 outside the norms of the law enforcement and intelligence communities.

85.               Defendants’ Lee and ITMS’ deficient policies and procedures outlining the unit’s

 investigative capabilities led to repeated instances of malfeasance, including the purposeful

 prolonging of investigations, unauthorized use of secured messaging systems, and over classification

 of documents to protect the unit from outside scrutiny.

86.               The Department of Commerce, without exercising any due diligence as to Lee’s

 qualifications and ignoring his inexperience, employed Defendant Lee as a Criminal Investigator

 under the Office of Personnel Management’s Classification System, referred to colloquially as an

 “1811.”

87.               Defendant DOC knowingly employed Defendant Lee who failed to meet the basic

 training requirements expected of a federal Criminal Investigator and had never completed the

 requisite training generally required for classification as an 1811.

88.               Defendant Lee and ITMS investigated employees at the Department of Commerce

 despite minimal, if any, evidence to suggest they presented a threat to the Secretary or “critical assets.”

89.               Defendant Lee and ITMS’ motivation behind many of these investigations was to

 investigate highly visible employees to display its investigative capabilities.

90.               In many instances, including Plaintiff’s, Defendants Lee and ITMS officials

 purportedly opened investigations for purposes of intimidation or retribution, creating the allusion that

 an individual was under investigation when, in fact, no threat existed to Department personnel or

 property which investigations largely targeted employees within the ITMS and often resulted in their

 separation from the Department.
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91.              The day after Valentine and Bookstaber interrogated Wilcox, they interviewed SAC

 Khan and ASAC Johnson regarding Wilcox and his employment with BIS. ITMS required both Kahn

 and Johnson to sign Non-Disclosure Agreements (NDAs).

92.              The stress of Defendants’ baseless interrogation and investigation caused Wilcox

 great emotional distress, which precipitated Khan, during the interrogation process, to ask Wilcox to

 go to the Employee Assistance Program (EAP), which Wilcox did.

93.              Wilcox had one session with a counselor, who told Wilcox that EAP cannot help

 Wilcox because EAP “…cannot be made to testify in any case against Commerce…”, but she opined

 that Wilcox needed to talk with someone. (Wilcox never mentioned to her anything about pursuing a

 case against Commerce).

94.              The counselor gave Wilcox a list of people to talk to in the DC area, but everyone on

 the list was either retired or would not see Wilcox as an EAP referral. Wilcox apprised SAC Khan of

 this. SAC Khan arranged for Wilcox to receive counseling assistance through someone affiliated with

 the Fairfax County Sheriff’s Office.

95.              At one point in November 2019, Wilcox was asked to have coffee by Kevin Kurland,

 who, at the meeting, looked visibly upset and who proceeded to inquire if Wilcox had a back-up plan,

 stating something was “coming down” regarding Wilcox from Lee, OSY and OGC.

96.              Wilcox asked, “What could possibly be coming down…I didn’t do anything, unless

 ITMS is trying to get rid of me while I am on ‘probation’”. To which Kurland responded that was

 exactly the case.

97.              On or about November 30, 2019, Wilcox was informed by John Sonderman, the

 Director of the Office of Export Enforcement, BIS (“Sonderman”), that Wilcox needed to send an

 email to John Geunther, the Office of General Counsel (OGC) stating that “Wilcox is requesting an
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 extension of his probationary period until the end of the OSY inquiry into his security

clearance”, which Wilcox did, verbatim, which Sonderman instructed Wilcox to exactly write.

98.          Senior ITMS officials, including Defendants Lee and Valentine, sought to

entrap subordinates viewed asdisobedientanddisloyalinadministrativeinquiries,oftenissuing

probationary periods to employees who, like Plaintiff, challenged the lawfulness of the unit’s

practices.

99.          On December 5, 2019, Wilcox was summoned to SAC Khan’s office at the BIS

Washington Field Office and was presented with a Resolution Agreement by SAC Khan and

ASAC Johnson.

100.         John Sonderman was present via telephone and told Wilcox that he needed to sign the

Resolution Agreement by the next morning, Friday at 0900, or Sonderman would fire him.

101.          According    to   the    Senate     Commerce      Committee    report,   ITMS

officials searched computers, cell phones, and office space of employees who had separated from

the unit, retroactively altering the      classification   of    documents     allowing    the

Department       to   initiate post-employment proceedings with penalties that included revocation of

 security clearances.


102.          Wilcox was blindsided and     shaken when he was presented with the Resolution Agreement

and told by Sonderman to sign or be immediately terminated if Wilcox did not sign the Resolution

Agreement THE NEXT MORNING before 9:00 a.m.!!!

103.          Wilcox was not able to find an attorney available to review the Agreement and advise him

regarding the governments’ threat of termination between Thursday evening and 9:00 am the next

morning!

104.           The agreement contained unreasonable, unfair and legalese terms (including waivers

of his rights to appeal), not understoodby Wilcox.

105.          This is not what Wilcox was told would happen and expected by Sonderman,
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 who initially told Wilcox that Wilcox was to request for an extension of his probationary period

until the end of the OSY inquiry.

106.           Under great stress and coercion, which Wilcox communicated to SAC Khan and

ASAC Johnson, on Friday morning on December 6, 2019, Wilcox signed the Resolution Agreement

under duress and without the opportunity to consult or retain an attorney. He did this because of

the above referenced and perceived and continued threats and the fear of retaliation and losing his

career, livelihood, and medical insurance, etc., and ability to provide for his daughter.

 107.          After a 24-year distinguished career, recent acceptance of promotion toserve as Senior

ECO of Beijing, China, and stellarperformance evaluations, Wilcox, a 2018 Gold Medal recipient, was

coerced and forced to sign a Resolution Agreement the next morning, (See, attached as Exhibit 2) and

resign his federal employment under duress with no explanation or stated or written reason, or the

opportunity to seek legal representation, or face immediate termination.

108.           Defendants, including ITMS and Lee, used Wilcox’s probation against him to get

what Lee wanted, which was an apparent high-profile statistic, without accusing Wilcox of anything

substantive, officially – even to date.

109.           Wilcox was denied procedural due process when he was coerced and pressured to

“resign”.

110.           The coerced Resolution Agreement forced Wilcox to waive his rights to an appeal

which is one of the reasons, aside from fear of further retaliation, that Wilcox was afraid of filing, and

did not think he had a right to file, any appeal with the U.S. Merit Systems Protection Board

(“MSPB”).

111.           Wilcox reluctantly and under duress resigned for fear of continued (baseless) threats

and reprisals and retaliation from the U.S. government and Defendants.
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112.                In June 2020, one of the ITMS, OSY special agents, Chris Cheung, who was the third

 Case Agent on ITMS’ bogus and baseless investigation, contacted Wilcox and apologized to Wilcox

 for what he was put through by Lee and explained to Wilcox what OSY was doing to Wilcox in detail,

 admitting that Lee and OSY had nothing on Wilcox and used his probation against Wilcox to have

 Wilcox “terminated as a statistic…”.

113.                Wilcox, post-termination, was informed that the investigation on Wilcox was initiated

 by ITMS/OSY in or about 2017 and was also told that, in 2016, his security clearance update

 investigation was being conducted by the Office of Personnel Management (“OPM”) investigator in

 Frankfurt, Germany.

114.                In 2016, the background investigator asked Wilcox about an issue involving his ex-

 wife in Italy and a management directed inquiry NCIS conducted into his short relationship with a

 Ukrainian national. Wilcox spoke to the NCIS investigator truthfully about what happened, and that

 he asked for permission to conduct the relationship in advance, as well as reported the Ukrainian

 national as a foreign contact, and said the internal inquiry was quickly closed. Wilcox was never

 reprimanded, as there was no merit to it, and his clearance was adjudicated since with no issues4.


4
  During his time in Italy, Wilcox, and his wife (a special agent with NCIS) were pursuing a divorce and were legally
separated. While in Ukraine in 2011 supporting a joint U.S., NATO and Black Sea country naval exercise, he was
protecting 5000 USN and USMC soldiers and sailors. Towards the end of the exercise, Wilcox asked the Force
Protection Detachment special agent, the Defense Attaché, and the Regional Security Officer assigned to the
U.S. Embassy in Kyiv, if he may go on a date with a Ukrainian Female. Wilcox also requested permission to do this from
his Supervisory special agent. There were no objections, and he was instructed to report the Foreign Contact. Wilcox
reported the contact to the Special Security Officer and all aforementioned parties. Wilcox ended the short 3-
week relationship.
In 2012, upon returning to the U.S. Wilcox was called into the Assistant special agent in Charge (ASACs) office
in Washington, DC, Jawad Mashny (friend of his ex-wife who was the ASAC in Italy with us), who told Wilcox that he
was opening a Management Directed Inquiry on Wilcox and his contact with a Ukrainian National. As Wilcox was
informed by another colleague, his ex-wife and her friend, also a NCIS special agent, reported that Wilcox was dating a
FSB Agent in Ukraine and that “Wilcox was a threat to U.S. National Security”. This was retaliation from his ex-
wife and was blatantly false. Wilcox recalled this NCIS agent, on a trip to Russia with Wilcox, asking Wilcox how
Wilcox knew the girl in Ukraine was not a FSB Agent, and Wilcox said no more or less than the RSO in Kyiv and the
Defense Attaché know as to whether or not their Russian-speaking wives are, or are not, foreign intelligence officers.
ASAC Mashny attempted to get the NCIS IG to accept the case, but the inquiry was declined by the Inspector General and
the case was closed because of how the case was initiated and that it had no merit. Wilcox was simply reminded to
ensure Wilcox report contact with foreign nationals. Wilcox’ security clearance was adjudicated twice since that time
successfully and without issue.
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115.             OPM notified OSY that this matter occurred, and OSY FOIAed the reports from

 NCIS.

116.             According to the former ITMS/OSY investigator, Chris Cheung, OSY extensively

 investigated Wilcox which revealed no derogatory information about Wilcox and Cheung told

 Defendant George Lee that the case needed to be closed because Wilcox did nothing wrong. ITMS

 could not find anything wrong with Wilcox in their interviews.

117.             Defendant Lee, who refused to allow agents to close cases, including Plaintiff’s,

 responded, “Keep looking, you just haven’t found it.”

118.             Defendant DOC, when it hired Defendant Lee, knew or should have known that

Defendant Lee lacked the proper qualifications to lead ITMS and lacked the proper qualifications

to lead a criminal investigative, counterintelligence or counterespionage program.

119.             The Defendants Lee and ITMS instituted and provided an unaccredited Basic Agent

Training (BAT), which endangered the safety of participating agents and the general public.

120.             Defendants Lee and ITMS targeted employees for investigation within ITMS for

challenging the unit’s legal authorities, demonstrating an egregious pattern of reprisal.

121.             The DOC’s rogue unit, ITMS, through its unqualified director, Lee, opened

investigations into a variety of employees without reasonable suspicion for the purpose of

exaggerating the unit’s ability to uncover security threats within the civil service.

122.             Defendant Lee opened cases on a variety of DOC employees, including Plaintiff, for

the purpose of exaggerating the unit’s ability to uncover security risks within the civil service.

123.             Defendant DOC was aware of and had been on notice of Defendants Lee and ITMS’

chronic mismanagement and allowed ITMS and Lee to continue to operate with a high degree of

secrecy.

124.             Before ITMS’ and Lee’s baseless and illegal investigation and before Wilcox was
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 constructively terminated, Wilcox’s security clearance was positively adjudicated with the CIA, until,

 post this bogus investigation, it was suspended by OSY (Not by the CIA).

125.              Wilcox’s employment with Defendant Department of Commerce has ended, but the

 extent of damage suffered by Plaintiff and caused by Defendants continues to grow.

126.              Neither Defendant Lee nor ITMS ever explained its reasoning for restricting

 Wilcox’s clearance or his constructive discharge causing Wilcox extreme emotional distress and

 embarrassment.

127.              In Administrative investigations, ITMS was required to read people their Garrity

 rights, which had to be done by providing something written to an interviewee according to OGC and

 the Commerce Department’s policy, in accordance with the Inspector General’s Office’s policy.

128.              Wilcox was not presented with anything written and did not signing anything.

129.              OSY agent Cheung stated that the written Garrity warning, which was never given to

 Wilcox, needed to be approved by OGC, which process George Lee never did while Cheung was there.

130.              Since the interrogation on Wilcox was audio taped, Defendants have also intentionally

 or negligently failed to preserve and produce the audio tape which tape contains the Fifth and

 Fourteenth Amendments’ Garrity Warning, which reads, in pertinent part:

“You are being asked to provide information as part of an internal and/or administrative investigation.
 This is a voluntary interview and you do not have to answer questions if your answers would tend to
 implicate you in a crime. No disciplinary action will be taken against you solely for refusing to answer
 questions. However, the evidentiary value of your silence may be considered in administrative
 proceedings as part of the facts surrounding your case. Any statement you do choose to provide may
 be used as evidence in criminal and/or administrative proceedings...”

131.              As a result of the unwarranted scrutiny and bogus investigations as delineated above,

 and after receiving information from government inside reliable sources, Wilcox submitted FOIA

 requests to the Department of Commerce, and the Department of Navy for all investigative reports

 and files related to inquiries on Wilcox.
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132.             The Navy appropriately responded within the FOIA time frame that it had no file.

133.             To date, no response or information was received from any entity including

 Defendant DOC.

134.             Wilcox constructively exhausted his administrative remedies under 5

U.S.C. SECTION 552(a)(6)(C) which provides in pertinent part as follows:

Any person making a request to any agency for records under paragraphs (1), (2), or (3) of this
 subsection shall be deemed to have exhausted his administrative remedies with respect to such request
 if the agency fails to comply with the applicable time limit provisions of this paragraph…”.

135.             Wilcox was also “unofficially” recently informed that his file is “missing”!!!!!!

136.             To date, neither Lee or ITMS or any person or entity ever told Wilcox what he did

 wrong.

137.             ITMS suspended Wilcox’s Top-Secret SCI/SI/TK/GG/HCS security

 clearance, which he had since 1997, seemingly because of unclassified matters.

138.             ITMS summoned Wilcox to DOC HQ and questioned his loyalty to the

U.S. and integrity on the anniversary of 9/11…which also additionally caused Wilcox great debilitating

 distress.

139.             Defendant ITMS agents, George Lee, Tom Valentine, and Jason

 Bookstaber, not only took Wilcox’s job, ITMS took Wilcox’s “life purpose.”

140.             Defendants Lee, Valentine and Bookstaber violated Wilcox’s rights for professional

 advancement and to promote and validate ITMS’ illegal, rogue, abusive and discriminatory practices.

 https://www.commerce.senate.gov/2021/9/wicker-statement-on-commerce-department-s-report-
 confirming-misconduct-at-itms

141.             Despite being told by other case agents on Wilcox’s investigation that Wilcox did

 nothing wrong and that there was no information suggesting Wilcox was a threat to the U.S., all

 Defendants, Lee and ITMS relentlessly pursued a case against Wilcox despite the lack of any evidence.
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142.             ITMS never, to date, informed Wilcox what Wilcox did, but instead orchestrated an

 illegal constructive discharge without the right of appeal - forcing Wilcox out of his career with the

 government and is, inter alia, the proximate cause of Wilcox’ emotional distress.

143.             An employee currently assigned to ITMS opined that Wilcox’s case file was given to

 Deputy Assistant Secretary for Intelligence and Security (DODIS) John Costello in

 November/December 2020 for review and now reports that Wilcox’s case file is missing.

144.             ITMS personnel were asked to review Wilcox’s case file and provide their findings to

 the Office of General Counsel (OGC) but were unable to find the file.

145.             The Senate Investigations Committee requested a copy of Plaintiff's case file and it

 was not provided by Commerce.

146.          Senator Wicker’s May 17, 2021 letter to the Inspector General US Department of
 Commerce reads, in pertinent part, as follows:
        “My ongoing investigation into misconduct at the ITMS has revealed that your Office
            reviewed similar claims as early as 2017. It seems the reviews by your office lacked
            the veracity to identify the unlawful conduct that has plagued the Department for more
            than a decade. This information suggests a continuation of past poor performance,
            which is a grave disservice not only to Department employees but also the taxpaying
            American public…” (See Exhibit 4, attached).

147.             Wilcox submitted a FOIA request for a copy of his case file and the FOIA request was

 not even acknowledged by any entity including the DOC.

148.             This caused great Wilcox distress and for the first time in his career, distrust of the

 Federal government, to which he dedicated his life.

149.             Plaintiff alleges that Defendants, and/or someone who worked for ITMS and Lee on

 Wilcox's investigation, intentionally destroyed Wilcox’s case file.

150.             The Defendants’ actions were illegal and, understanding that his administrative

 remedies were “waived’ by signing the Resolution Agreement and not available to him and also were

 exhausted since his FOIA requests were repeatedly ignored by the DOC and understandably losing
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 confidence in the system which he protected with his life, Wilcox was concerned about further

 retaliatory actions by the Defendants and the government if he filed an appeal to the Merit System

 Protection Board (MSPB), which right of appeal he was understood he was coerced to waive.

151.                George Lee, even though he reported to Costello, opened an investigation on his

 supervisor (Costello) and was monitoring Costello's emails.

152.                ITMS employees and agents are now on paid administrative leave pending a

 Reduction in Force (RIF) or reassignment to other Bureaus within Commerce, since the entire ITMS

 section was disbanded.

153.                The OGC is issuing letters to close cases which were left opened to avoid answering

 FOIA requests, and to then destroy existing case files.

154.                On September 3, 2021, the U.S. Department of Commerce published its findings of
 the internal review of the Investigations and Threat Management Service (ITMS) and recommended
 immediate actions to address outstanding issues, which recommendation reads, in pertinent part, as
 follows:
       “…The report from the Office of Inspector General (OIG) addressing allegations of misconduct
        concerning ITMS spanning several years. After receiving the OIG report, the Department suspended
        all investigative activity and initiated a review to assess the overall practices, policies, and
        performance of ITMS in fulfilling its missions and recommend a future path for ITMS. “Our most
        important priority is creating an environment at the Department of Commerce where employees feel
        safe and respected,” said Secretary Raimondo. “We are committed to maintaining our security, but
        also equally committed to protecting the privacy and civil liberties of our employees and the public.
        This report and the actions we are taking underscore our commitment that the Department operate
        with respect for the rule of law, the rights of employees and the American people…The Commerce
        Department leadership team took the ITMS allegations very seriously and upon learning about the
        concerns, immediately suspended all criminal enforcement activity and initiated a 90-day review to
        determine a comprehensive solution that would address these issues,” said Deputy Secretary Graves.
        “Commerce leadership has reviewed and accepted the recommendations in the report and will begin
        implementation immediately...and to ensure that no information developed by ITMS records inform
        future decisions without a prior legal review and independent factual corroboration.”

155.                The lack of any oversight by Defendant DOC has allowed ITMS to conduct illegal

 investigations without following best practices in line with proper law enforcement norms and

 expectations, including informing witnesses and subjects of their rights, or properly documenting

 investigative efforts, such as memorializing interviews or retaining notes in electronic case files.
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156.              Few internal procedures existed with ITMS to provide guidance on case management,

 which reportedly led to an abuse of the document classification process that shielded investigations

 from external review by other branches of government, including Congress.

157.              Wilcox cannot work for any government agency again because of what Defendants

 did in suspending his clearance without ANY reason and without due process.

158.              Wilcox’s options to work as any government contractor either in a position requiring

 any security clearance, is significantly limited as to what jobs Wilcox could take.

159.              A massive part of his professional marketability is Wilcox’s extensive and

 unblemished government experience, but without a clearance or record of a suspended clearance,

 Wilcox’s marketability in the private sector has been severely diminished by Defendant Lee and the

 Department of Commerce, which is the cause of Wilcox’s emotional distress and economic loss.

160.              Wilcox lost close friends, his reputation and status within the federal law enforcement

 and intelligence communities5.

161.              Lee and ITMS and the Commerce Department’s actions embarrassed Wilcox to his

 close colleagues at BIS, the FBI, CIA and Wilcox’s family and daughter and essentially took Wilcox’s

 life away and everything for which Wilcox worked.

162.              Today, Wilcox cannot even hear the national anthem without distress and an

 emotional response, not because of his heart-felt life-long patriotism, service to and love of this

 country and his conviction and pride he had as a public servant, but because the Defendants, including




 5
   Wilcox was denied access to secure workspaces at HQ and the Washington Field Office, resulting in the
 passcodes needing to be changes and all personnel said that ITMS could not discuss anything with Wilcox.
 Wilcox was embarrassed and ashamed in front of Wilcox’s peers, supervisors who trusted Wilcox and fought
 to ensure Wilcox had a position after returning to the U.S., as well as Wilcox’s close contacts at the CIA and
 FBI. Wilcox’s reputation was damaged with the FBI, CIA and colleagues within BIS, rumors spread Wilcox
 was a counterintelligence threat against the U.S. Wilcox clearly was not. Wilcox’s reputation was also
 damaged when Wilcox disappeared with the Foreign Commercial Service, who Wilcox was working with in
 preparation to report to China.
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 the DOC and BIS, allowed George Lee and this government to recklessly, intentionally and unfairly

 end Wilcox’s career without cause.

163.              These incidents as delineated above, caused Wilcox such deep anxiety and depression

 that he needed to move away from DC to Wilcox’s hometown so he could be around family for

 emotional support.

164.              Wilcox is undergoing counseling to deal with the compounding stress proximately

 caused by ITMS, DOC and Lee’s unwarranted and unsubstantiated constructive termination of

 Wilcox’s life-long avocation and career.

165.              Wilcox lost retirement and other benefits and has and continues to suffer damages.

166.              As a direct and proximate result of Lee’s, the DOC’s and ITMS’s actions and failure

 to act, Wilcox has also been deprived of:

  ï    The Senior Diplomat position of Senior ECO Position in Beijing (FS-1) (Wilcox was offered and
       he accepted and which agreement the DOC breached),
  ï    Drawing his pension at 50 years of age
  ï    The money for drawing his pension between 50 and 62
  ï    Additional 6 years’ worth of accrual in his pension between 44 years of age and 50 (retirement)
  ï    Retiring as a “Federal Agent”, with retirement badge and credentials
  ï    The value of his pension with 6 more years of time added post 62 years of age
  ï    The medical benefits afforded U.S. government employees after retirement.

167.              Defendants responded to Plaintiff’s two decades of unblemished and non-partisan

 public service with a politically motivated and retaliatory constructive firing in December 2019 when

 Defendants forced Wilcox to sign an agreement waiving his rights under extreme duress.

168.              Defendants’ actions intentionally, recklessly and negligently have harmed Plaintiff’s

reputation, professional standing and vitiated his retirement benefits.

169.              Plaintiff asks this court to find that his termination was unlawful, the Resolution

 Agreement void, and to award him any and all remedies necessary to enable him to receive his fully

 earned potential income, pension, healthcare insurance, and other retirement benefits.
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170.              Defendants never applied the procedures and policies regularly applicable to

 government employees in Plaintiff’s circumstances, which would have let Plaintiff retire with the full

 benefits he had earned over two plus decades of loyal and honorable service to the United States.

171.             Plaintiff seeks to vindicate his rights and address the chilling effect of Defendants’

 message to career civil servants, like Plaintiff, who are at risk for self-promoting and politically

 motivated termination.

172.             Plaintiff hereby asks the Court to review Defendants’ decisions to terminate Plaintiff

 on the grounds that ITMS violated the Fourth Amendment, because those decisions were unlawful.

173.             Plaintiff also asks the Court to review Defendants’ termination decision on the

 grounds that it violated the Fifth Amendment’s Due Process Clause, because Wilcox was forced to

 sign under duress, and it was undertaken without lawful authority and in violation of explicit

 procedural protections.

174.             Plaintiff seeks equitable relief in vindication of his constitutional rights; declaratory

 relief under the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201- 2202; and mandamus relief

 under 28 U.S.C. § 1361.

175.             Plaintiff requests that the Court exercise its jurisdiction and authority to issue a

 Declaratory Judgment that the Resolution Agreement is void, Defendants’ termination was a legal

 nullity, that Plaintiff’s security clearances are in good standing, and that Plaintiff is immediately

 entitled to his full benefits and pension and all other benefits, privileges, and rights currently being

 withheld.

176.             In the alternative, Plaintiff requests that the Court exercise its jurisdiction and

 authority to issue a declaratory judgment that Defendants’ termination of Plaintiff’s employment was

 unlawful, and to order equitable relief that reverses Defendants’ unlawful personnel actions, and

 enjoin Defendants from interfering with Plaintiff’s receipt of his benefits.
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177.             Plaintiff also requests that the Court provide all other relief, including writs of

 mandamus, that the Court deems appropriate.

                                                COUNT I

           FIRST CAUSE OF ACTION: FEDERAL TORT CLAIMS ACT - 28 U.S.C. § 1346(B)
                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

178.              Plaintiff re-alleges and incorporates by reference all paragraphs herein and above.

179.              Under Pennsylvania law, the tort of intentional infliction of emotional distress has

 four elements: (1) the defendant must act intentionally or recklessly; (2) the defendant's conduct must

be extreme and outrageous; and (3) the conduct must be the cause (4) of severe emotional distress. 180.

The Defendants and its agents acted within the scope of their office or employment under

circumstances where the United States, if it were a private person, would be liable to Plaintiff in

accordance with the laws of the Commonwealth of Pennsylvania.

181.           The Defendants knowingly, intentionally, and/or recklessly caused Wilcox severe

emotional distress as more fully addressed and described above and herein.

182.           The Defendants extreme and outrageous conduct and actions were in furtherance of

Defendant Lee and the ITMS’ illegal policies sanctioned by the DOC.

183.           Defendants, agents of the Federal government, the Nation’s largest employer,

breached its duty of care to its employee, Wilcox, and violated the Federal merit system principles that “…

[a]ll employees and applicants for employment should receive fair and equitable treatment in all aspects

of personnel management” (5 U.S.C. 2301(b)(1), (2)), which breach caused Plaintiff harm.

 184.          Defendants’ and its agents’ negligent, intentional and reckless conduct caused Wilcox to

suffer extreme emotional distress that continues to date.

 185.          Plaintiff’s severe emotional distress was caused by DOC agents’ and Defendants’

  actions which were severe and contributed to Wilcox’s need for continued medical treatment.
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                                                COUNT II

 PLAINTIFF’S CONSTRUCTIVE TERMINATION WAS A LEGAL NULLITY OR, ALTERNATIVELY, WAS
                                    ULTRA VIRES
     AGENCY ACTION IN VIOLATION OF THE FIFTH AMENDMENT’S DUE PROCESS CLAUSE.

186.              The Paragraphs above are incorporated and reasserted as if fully set forth herein.

187.              ITMS’ termination of Plaintiff was not a valid termination action.

Alternatively, Plaintiff’s termination, as set forth above, was an ultra vires agency action that violated

 the Fifth Amendment’s Due Process Clause.

188.              To constructively remove Plaintiff from the career civil service, Defendants were

 required to specify in writing the reasons for its decision, state an effective date for removal, and

 deliver this information to Plaintiff on or before the effective date of the action so that he may address

 and exhaust his administrative rights.

189.              Not only did this not occur but Defendants intentionally, negligently, and recklessly

 destroyed Plaintiff’s investigation file and all records.

190.              Defendants’ actions caused Plaintiff serious emotional distress and have harmed

 Plaintiff by denying him due process, damaging his reputation, depriving him of his rightful status as

 a government employee in good standing, eliminating his primary source of income, and reducing his

 retirement benefits by depriving him of his full vested pension and related benefits and caused and

 still causes him great embarrassment.

                                               COUNT III

PLAINTIFF WAS TERMINATED THROUGH SHAM AND ACCELERATED PROCEEDINGS THAT IGNORED
 STATUTORY PROCEDURES AND AGENCY POLICIES, IN VIOLATION OF THE FIFTH AMENDMENT’S
                              DUE PROCESS CLAUSE.

191.              The Paragraphs herein are incorporated and reasserted as if fully set forth herein.

192.              Defendants further violated the Fifth Amendment by ignoring applicable statutory and
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 agency processes in order to accelerate Plaintiff’s termination, thereby depriving him of his property

 interest in his employment and full vested pension and related benefits, including health insurance,

 without due process of law and causing Wilcox severe emotional distress.

193.              Plaintiff was entitled to a meaningful opportunity to evaluate and respond to the

 allegations against him before being terminated and to properly and intelligently exhaust any

 administrative remedies, including any appeals, to which Wilcox was informed, he waived.

194.              Defendants deprived Plaintiff of that meaningful opportunity when implementing

 Defendants’ and Lee’s directive to destroy Wilcox’s file which caused Plaintiff to suffer severe emotional

 distress with the loss of his career, employment and full benefits.

195.              Defendants knew that this intentional, baseless, unlawful and malicious, directive

 would require circumventing the law and procedures and would cause Wilcox severe emotional

 distress.

196.              By statute, Plaintiff was entitled to reasonable notice and an explanation or reason and

 an opportunity to exercise his rights before his termination could become final.

197.              Plaintiff received less than fifteen (15) hours overnight to have the coerced Resolution

 Agreement reviewed by an attorney with no explanation (even to date) as to what basis upon which

 ITMS relied and for ANY reason his removal was based and to prepare for a hearing or written

 objection or defense or appeal, which rights Wilcox was informed and believed he waived based upon

 the language of the coerced Resolution Agreement.

198.              Plaintiff therefore did not receive a meaningful opportunity to respond to the

 constructive termination in violation of the Due Process Clause.

199.              Additionally, Plaintiff’s separation from the agency was not due to “gross

 misconduct” or ANY misconduct.

200.              Plaintiff therefore never had a neutral, informed, and independent decision-maker
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 address his case. In truth and in fact, the sole decision-makers concerning Plaintiff’s termination were

 Defendants, including Lee and ITMS.

201.             Defendants’ deficient termination proceedings also deprived Plaintiff of his right to

 appeal and constitutionally protected liberty interest in his reputation, in violation of the Fifth

 Amendment.

202.             As a result, Plaintiff’s unblemished reputation has been stigmatized with false

 charges, and his prospects for future employment with the government have been foreclosed, and his

 prospects for other future public and private employment in law enforcement and related professions

 have been greatly hampered, causing Wilcox severe injuries and emotional distress.

203.             Any provision of agency regulation or policy that might purport to authorize the

 procedure followed in connection with Plaintiff’s termination would be unlawful.

204.             Any statute that may purport to authorize the procedure followed in connection with

 Plaintiff’s termination would be unconstitutional.

205.             Defendants’ unlawful action harmed Plaintiff by causing him severe emotional

 distress, embarrassment and shame and by denying him due process, damaging his reputation,

 depriving him of his rightful status as a government employee in good standing, eliminating his

 primary source of income, and reducing his retirement benefits by depriving him of his full pension

 and related benefits.

                                              COUNT IV

                                              Mandamus

206.             The Paragraphs herein and above are incorporated and reasserted as if fully set forth
 herein.

207.             The provisions of 28 U.S.C. § 1361 provide a statutory basis for jurisdiction in cases

 seeking relief in the nature of mandamus against federal officers, employees, and agencies, and they
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 provide for an independent cause of action in the absence of any other available remedies.

208.              Defendants’ actions, as set forth above, constitute an unlawful refusal of the DOC to

 recognize that Defendants’ actions constituted unlawful personnel actions.

209.              Plaintiff has a clear right to be recognized as an agent in good standing, or, in the

 alternative, to be so that he may receive his vested benefits.

210.              Defendants have a clear non-discretionary duty to Wilcox rescind Plaintiff’s

 unlawful termination.

211.              Plaintiff is entitled to relief in mandamus compelling Defendants to rescind the

 Resolution Agreement and unlawful constructive termination.

                                               COUNT V

  INTENTIONAL SPOLIATION OF EVIDENCE AND PLAINTIFF’S INVESTIGATION RECORDS and FOIA
                                     VIOLATIONS

212.              The Paragraphs above are incorporated and reasserted as if fully set forth herein.

213.              Defendants had complete control and the responsibility to preserve and keep safe the

 investigation file that contained all “evidence” to support Defendants’ basis to constructively

 terminate Plaintiff.

214.              Defendants’ actions support Plaintiff’s claim for spoliation of evidence since:

  ï Defendants have suppressed and have withheld or have destroyed all evidence and Plaintiff’s file.
  ï The evidence was relevant to this case and was intentionally withheld even after Plaintiff filed a
    FOIA request, to which the DOC never responded.
  ï It is reasonably foreseeable that this file and the evidence would be discoverable.
  ï Defendants’ actual suppression and withholding of this evidence was intentional and was in bad
    faith. Schmid v. Milwaukee Elec. Tool Corp., 13 F.3d 76 (3rd Cir. 1994)

215.              Plaintiff is entitled to sanctions, including punitive damages, against Defendants

 since the spoliation was beyond accident or mere negligence and was intentional.

216.              The Defendant spoliators acted in “bad faith” therefore all adverse inferences will

 be provided to Plaintiff.
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                                               COUNT VI

                              VIOLATION OF FOIA
DEFENDANTS INTENTIONAL FAILURE TO RESPOND TO PLAINTIFF’S FOIA REQUESTS CONSTITUTES
         PLAINTIFF’S CONSTRUCTIVE EXHAUSTION OF ADMINISTRATIVE REMEDIES

217.              The Paragraphs above are incorporated and reasserted as if fully set forth herein.

218.              Plaintiff made a proper FOIA request in accordance with agency regulations. (See,
                  Exhibit 4, attached)

219.            Defendants never responded to Plaintiff and never notified Plaintiff of any unusual
 circumstances or clarification of the requests from Defendants.

220.              Plaintiff never received any response or final determination, including, Defendants’

 failure to:

       ï gather and review the documents;
       ï determine and communicate the scope of the documents it intends to produce and withhold,
        and the reasons for withholding any documents; and
       ï inform the Wilcox as the requester that he can appeal whatever portion of the 'determination'
        is adverse.
221.              Plaintiff is deemed to have exhausted his administrative remedies with respect to his

 request since the Defendants failed to comply with the applicable time limit provisions set forth in

 FOIA for responding to Plaintiff’s request.

222.              To require Plaintiff who has been denied the production of Plaintiff’s file to exhaust

 administrative remedies before seeking judicial review would defeat FOIA’S aim to insure the full or

 partial disclosure of previously unreleased information and documents controlled by the United States

 government upon request.

223.               Plaintiff is entitled receive the information which allegedly was the basis of which

 Defendants allegedly made their decisions.

224.              Defendants breached its duty to Plaintiff in intentionally failing to respond to the

 FOIA request.
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225.             Defendants breached several privacy enacted statutes including but not limited to the

 Freedom of Information Act and OPEN Government Act of 2007.

226.             The remedies available to Plaintiff under the FOIA include:

       ï an order for injunction;

       ï writ of mandamus or a civil action in the nature of mandamus;

       ï an order for damages, including punitive damages; and

       ï an order for production of agency records.

227.             Plaintiff is entitled to a writ of mandamus, since Plaintiff has satisfied the following:

        ï                 there is no statutory exception or common-law limitation offered by
       Defendants;
        ï                 that there is no specifically stated contrary reason submitted by Defendants,
       the guardian of the public record;
        ï                 that there is a legal duty on the part of the Defendants to perform a non-
       discretionary act;
        ï                 that there is a demand for performance of such act; and
        ï                 that there is a refusal to perform an act demanded.


228.             Plaintiff is entitled to punitive damages and reasonable attorney’s fees since

 Defendants’ arbitrary delay and unlawful, intentional and willful refusal to issue or disclose copies of

 public record caused substantial harm and severe emotional distress to Plaintiff.

                                             COUNT VII

                           NEGLIGENT HIRING, RETENTION, SUPERVISION

229.            The Paragraphs above and herein are incorporated and reasserted herein.

230.            Defendant DOC has failed to exercise reasonable care in the selection,

 training, retention and supervision of its employees, including Defendant Lee.
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231.           The Defendants

           a. owed a duty of care to Wilcox, an employee of the DOC,

           b. failed to perform the duty of care,

           c. failure was the proximate cause of the Wilcox’s damages, and

           d. Intentionally or recklessly caused Wilcox to sustain actual loss and injury, including
              severe emotional distress.
232.           Defendant DOC breached its duty to protect Plaintiff and other DOC

employees against a risk of harm, which was foreseeable.

233.           All Defendants’, including Defendant DOC, conduct was wanton, willful,

oppressive, or exhibited a reckless indifference to the rights of others, including Plaintiff. Defendant

DOC knew or should have known that Defendant Lee was unqualified for his position with ITMS.

234.           Defendants had direct knowledge of and realized and appreciated the risk, and it acted

in conscious disregard or indifference to it since it employed and retained Defendants Lee,

Bookstabber and Valentine even though it was aware of all of the problems, lack of

training and experience and inappropriate conduct of Defendants including specifically Defendant Lee

and ITMS for years before the wrongful and baseless, career ending termination of Plaintiff’s

employment which caused Wilcox serve emotional distress and economic loss.


                                            COUNT VIII

                                       BREACH OF CONTRACT

235.            The Paragraphs above and herein are incorporated and reasserted as if fully set forth
                herein.

236.            In early summer of 2019, Wilcox was chosen by Kevin Kurland from a list of people
 to be the Acting Assistant Director for the BIS Export Control Officer (ECO) Program managing the

 BIS ECOs (attachés) assigned outside the U.S. at U.S. Embassies throughout the world.

237.             Wilcox was then also asked (by Linda Minsker, the career-appointed Assistant
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 Director of the ECO program) to become the Senior ECO in Beijing, China and a liaison to China’s

 Ministry of Commerce (MOFCOM), after advertising the position in the Office of Personnel

 Management’s (OPM) USAJOBS system, and not selecting an incumbent twice. (All agreements and

 evidence regarding the Minsker’s offer and Willcox’s acceptance are in the possession of the

 Assistant Director of the ECO program, to which Wilcox has no access. (See, Exhibit 5).


 238.            As Wilcox understood, he was the desired incumbent because of his competence,

 professionalism, and reputation for being an outstanding ECO.

239.               Wilcox applied for the position and was immediately selected.

240.               Wilcox accepted this position, because of his sense of duty to the country.


241.               Wilcox has been damaged professionally, economically and has suffered great

emotional stress caused by the breach of contract by Defendant Department of Commerce.

                                               COUNT IX

                              TORTIOUS INTERFERENCE WITH CONTRACT

242.              The Paragraphs above are incorporated and reasserted as if fully set forth herein.

243.               Defendants intentionally interfered with Wilcox’s Beijing agreement above

 delineated.

244.               Defendants knew that Wilcox accepted the position in Beijing.

245.               Defendants tortiously interfered with Wilcox’s contract claim since: (1) there was a

 valid and enforceable existing contract as delineated herein; (2) Defendants were aware of the

 contractual relationship; (3) Defendants acted intentionally and were unjustified in causing the breach

 of the contract; (4) a subsequent breach by the other caused by Defendants Lee and ITMS wrongful

 conduct; and (5) Wilcox’s damages, including economic damages described herein and

 severe emotional distress.
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246.           The two-year Statute of Limitations for all of Wilcox’s claims herein, including Tortious

Interference with a Contract, under the FTCA, 28 U.S.C. § 2401, is tolled as Wilcox filed his

administrative complaint under the same facts and circumstances herein within the two-year Statute

of Limitations (December 6, 2021) and these claims are now being filed in this court within six

months of the date of the mailing of the denial of Wilcox’s administrative claim (Exhibit 2, attached).


REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests that this Court:


           a. Rescind Resolution Agreement: Rescind the entire coerced Resolution Agreement
              executed by Wilcox under duress.


           b. Security Clearance Reinstated: Reinstate Wilcox’s security clearance and purge
              records of suspension and/or revocation.

           c. Career Appointment: “Competitive Service” All documentation in the DOC/OPM
              systems will reflect that Wilcox is classified as being able to serve in Competitive
              Service, not Career Conditional (the temporary status) as it does now.
           d. Order the Department of Commerce to conduct a review of all adverse employment

              actions directed or informed by ITMS, which review should include, retirements,

              resignations, and terminations with significant scrutiny placed on related Non-

              Disclosure, Resolution, Settlement, and other agreements negotiated by ITMS officials,

              including Defendant Lee.

           e. Declare that Plaintiff’s termination was a legal nullity or, in the alternative, that

              Defendants violated Plaintiff’s constitutional rights by demoting him and terminating

              his employment;
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   f. Expunge Plaintiff’s personnel file of all records related to Defendants’

      unconstitutional termination decisions;

   g. Order Defendants to process and pay Plaintiff’s benefits including full

      pension, salary, and provide all other related benefits;

   h. Enjoin Defendants from further retaliation and other violations of Plaintiff’s

      rights;

   i. Issue writs of mandamus as appropriate;

   j. Award Plaintiff compensatory and punitive damages and his costs, interest,

      and reasonable attorneys’ fees incurred in this action; and

   k. Award other relief as the Court deems just.


                                       Respectfully submitted,
DATED: February 27, 2022


                                       JOHN T. ROBERTSON, ESQUIRE
                                       ATTORNEY ID: 53732
                                       ATTORNEY FOR PLAINTIFF
                                       1845 WALNUT STREET, 21ST FLOOR
                                       PHILADELPHIA PA 19103
                                       215-567-8300 Ext 265
                                       jrobertson@feldmanshepherd.com
                                       jr@jtrlaw.com
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                              VERIFICATION
                                   OF
                               COMPLAINT


Stephen Wilcox, Plaintiff, states that he has read the foregoing Complaint and
believe the allegations and contents thereof to be true and correct to the best of
his information, knowledge and belief.

These statements are made pursuant to the penalties of 18 Pa. C. S. §4904 relating
to unsworn falsifications to authorities.


DATED: February 24, 2022




                                                 Stephen Wilcox


                                                 _______________________
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EXHIBIT 1                                                   UNITED STATES DEPARTMENT OF COMMERCE
WILCOX v. DOC                                               Office of the Assistant General Counsel for
                                                            Employment, Litigation, and Information
                                                            Washington, DC 20230




January 3, 2022

Via email to jr@ jtrlaw.com

Johnny Robertson
Robertson Rubens & Associates
1845 Walnut Street, 21st Floor
Philadelphia, PA 19103

Re: Administrative claim for injuries suffered by your client Stephen A. Wilcox

Dear Mr. Harrison:

       On December 1, 2021, we received your client’s claim under the Federal Tort Claims Act
(FTCA), 28 U.S.C. §§ 1346(b), 2671-80, seeking $4,500,000 for alleged personal injuries
suffered in connection with an investigation of Mr. Wilcox and termination of his employment
by the Department of Commerce.

        Because your administrative tort claim concerns employment actions and does not
properly fall under the FTCA, your claim must be denied. I am required by 28 C.F.R. § 14.9(a)
to inform you that if you are dissatisfied with this determination you may file suit in an
appropriate U.S. District Court not later than six months after the date of mailing of this
notification of denial. See 28 U.S.C. § 2401(b).

        If you have any questions, please contact Levi Jones, the staff attorney assigned to this
matter, at 202-482-4667 or ljones2@doc.gov.

                                              Sincerely,



                                              Megan Heller
                                              Chief, General Litigation Division
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                        EXHIBIT 2
                      WILCOX v. DOC
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                          EXHIBIT 3
                        WILCOX v. DOC
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Setting these arguments aside, you promised in your opening statement at your confirmation
hearing to be Inspector General of the Department of Commerce on May 10, 2016, to "make it a
priority to maintain a good working relationship with this Committee, Congress as a whole, the
Secretary, and others."2 Even more, you answered "yes" when the committee's questionnaire
asked, "[w]ill you ensure that your department complies with deadlines for information set by
congressional committees?"

My ongoing investigation into misconduct at the ITMS has revealed that your Office reviewed
similar claims as early as 2017. It seems the reviews by your office lacked the veracity to identify
the unlawful conduct that has plagued the Department for more than a decade. This information
suggests a continuation of past poor performance, which is a grave disservice not only to
Department employees but also the taxpaying American public.

I implore you to provide me with your Office's report into misconduct at the ITMS immediately.
Collaboration between Congress and OIGs is imperative to perform effective oversight, and
limiting access to important documents like this report only obstructs that shared goal.




                               �!��
                                         Sincerely,




                                         Ranking Member
                                         Commerce, Science, and Transportation Committee




2
 Nomination ofHon. Peggy E. Gustafson, to be Inspector Generalfor the Department of Commerce, Before the S.
Comm. on Commerce, Sci., and Transp., 114 Cong. 1 (2016) Statement of Peggy E. Gustafson, available at
Imps:/ M,w.commerce.senate.gov services files/06F5BB24- I A I7-4C8E-BB27-EF464AF880A I.
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                                                       EXHIBIT 4
                                                    WILCOX v. DOC
                                                                                    Steve Wilcox <stevewilcox40@gmail.com>



FOIA Request DOC-OS-2021-000767 Submitted
no-reply@foiaonline.gov <no-reply@foiaonline.gov>                                                Tue, Jan 19, 2021 at 2:23 PM
To: stevewilcox40@gmail.com


 This message is to confirm your request submission to the FOIAonline application: View Request. Request information is
 as follows:

        Tracking Number: DOC-OS-2021-000767
        Requester Name: Stephen Wilcox
        Date Submitted: 01/19/2021
        Request Status: Submitted
        Description: Copy of the entire investigative case file, including but not limited to:

        1) Details regarding how the investigation against me was initiated,

        2) Copy of recorded audio of my interview with members of OSY in 2018,

        3) Copy of any and all investigative action reports,

        4) Copy of all Reports of Investigation(s) or any other investigative report,

        5) Copy of reports detailing interviews, written or audio recorded, with persons within the Department of
        Commerce,

        6) Copy of interviews, written or audio-recorded with persons not employed by the Department of Commerce,

        7) Copy of any and all other documents not listed above but relevant to the OSY investigation against me,

        8) Copy of all email correspondence between OSY (George Lee and the OSY Investigators) and the General
        Counsel’s Office, between OSY and BIS leadership (John Sonderman, Doug Hassebrock, Nasir Khan, and/or
        anyone else in BIS), between BIS leadership and the Department of Commerce General Counsel’s Office,

        9) Copy of all non-disclosure agreements signed by interviewees,

        10) Copy of all agent’s notes,

        11) Copy of the status of my security clearance as a result of this investigation.

        (See Attached Request)
                                         EXHIBITPage
Case 5:22-cv-00735-JFL Document 1 Filed 02/28/22 4, cont'd
                                                       47 of 53
                                ONLY RESPONSE RE: FOIA REQUEST
                         EXHIBIT 4, cont'd
                                     Case 5:22-cv-00735-JFL Document 1 Filed 02/28/22 Page 48 of 53

DOC-OS-2021-000767 Request Details

                                    Submitted           Evaluation        Assignment          Processing               Closed



Request Information

 Full Name                          Under Agency Review
 Organization                       Under Agency Review
 Fee Category                       N/A
 Date Submitted                     01/19/2021
 Estimated Date                     03/08/2021
 of Completion
 Final Disposition                  Undetermined


Description

  The description of this request is under agency review.




Released Records


 Download                 Title                                                  Size (MB)                 File Type            Release Date


                                                             No records have been released yet.
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                                               EXHIBIT 5
                                             WILCOX v. DOC
                                             BEIJING CHINA
                                         CONTRACT / APPOINTMENT
                      DEPARTMENT OF COMMERCE

  Dashboard                                                                                                                                                     Return to USAJOBS



Welcome, STEPHEN WILCOX 

Applications

 All          Complete        Incomplete



 Announcement Number
 Position Title                         Application Status                               Vacancy Status           Comments                                   Actions


 Regional Criminal Investigator         Grade 01                                         No longer accepting      Grade 01: No Comment                       Update Documents
 (Export Control Officer)               You have been selected for the position.         applications
 ITA-FSHR-2019-0008                      You have answered all the required questions                                                                       Download Your
                                        for this grade.                                                                                                      Application




 Show 25           results per page   GO

                                                                                                                                            FIRST     PREVIOUS         NEXT     LAST

                                                                                                                             Note: Adobe Acrobat Reader is required to view PDF files.




            AGENCY FINANCIAL REPORT     COMMENT POLICY                 COMMERCE ARCHIVE      EEO POLICY      FOIA      GOBIERNOUSA.GOV     IMPROPER PAYMENTS
          INFORMATION QUALITY     INSPECTOR GENERAL                 NO FEAR ACT    PLAIN LANGUAGE       PRIVACY POLICY      USA.GOV    WHISTLEBLOWER PROTECTION
                                                                                  WHITEHOUSE.GOV



       This is a Federal job application system. Providing false information, creating fake IDs, or failing to answer all questions truthfully and completely may be grounds for not
       hiring, for disbarment from Federal employment, or for dismissal after the applicant begins work. Falsifying a Federal job application, attempting to violate the privacy of
                     others, or attempting to compromise the operation of this system may be punishable by fine or imprisonment (US Code, Title 18, section 1001).
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                                                                                                          SW   Help   Search



Regional Criminal Investigator (Export Control Officer)
DEPARTMENT OF COMMERCE
Department of Commerce - Agency Wide

   Reviewing applications                                                                                             Help


Open & closing dates
  05/15/2019 to 05/30/2019

Service
Excepted

Pay scale & grade
FP 01

Salary
$127,424 to $165,649 per year

Appointment type
Term - Full-time - Temporary Initial Appointment of 2 years. May be extended but not to exceed 5 years.

Work schedule
Full-time - Excepted Service - Temporary



Location                                                                                                              Help
                                    Case 5:22-cv-00735-JFL Document 1 Filed 02/28/22 Page 51 of 53
1 vacancy in the following location:

  Beijing, China
  1 vacancy

Relocation expenses reimbursed
Yes Relocation to Beijing, China and return to U.S. Continuing Service Agreement required.

Telework eligible
No

                                                                                                                    Help
  This job is open to
         Federal employees - Excepted service
         Current excepted service federal employees.


         Internal to an agency
         Current federal employees of this agency.


  Clarification from the agency
  This vacancy announcement is open to current Department of Commerce, Bureau of Industry and Security employees.




                                                       This job announcement has closed
                        Print

                                                            Announcement number
                                                             ITA-FSHR-2019-0008

                                                               Control number
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                                                               533746600


Duties

                                                                                                                                        Help

Summary
The incumbent will serve as a Bureau of Industry and Security (BIS) Commercial/Export Control Officer and provide support for all BIS
initiatives. The incumbent will travel frequently conducting BIS end use checks in the region of their respective offices. The incumbent
must be a current Special Agent with the U.S. Department of Commerce, Bureau of Industry and Security. Ability to speak Chinese is
not required, but is preferred.

                                                     Learn more about this agency


Responsibilities
As an Export Control Officer, the incumbent has region-wide responsibility for implementing and reporting on all BIS programs,
including those relating to dual-use and certain munitions export controls, non-proliferation and anti-terrorism. The incumbent is
responsible for issues covered under, inter alia, the Export Control Reform Act (ECRA) of 2018, the Export Administration Regulations
(EAR), the International Emergency Economic Powers Act (IEEPA), the Fastener Quality Act, the Chemical Weapons Convention
Regulations, and related export control laws.


The incumbent will serve as a Criminal Investigator responsible for investigating actual or alleged violations of the EAR from the point
of suspicion or receipt of substantive allegation of violation to the conclusion of resulting criminal judicial process or administrative
proceedings. As Regional Criminal Investigators, ECO duties will include liaising with U.S. Government law enforcement officials at
post, building and maintaining relationships with host nation law enforcement officials, and providing investigative support to BIS HQ
and field offices as appropriate by the region.

Specifically, the incumbent:
                                 Case 5:22-cv-00735-JFL Document 1 Filed 02/28/22 Page 53 of 53
      Provides support for all Bureau of Industry and Security (BIS) activities, including U.S. export control issues and host country
      export control development that will typically include bilateral information exchanges by U.S. government agencies and their
      host Government counterparts.
      Works with host government officials and local businesses to provide information and appropriate training in order to facilitate
      understanding of U.S. dual-use export control laws and regulations.
      Provides export control expertise to post by supporting senior U.S. Embassy officials with current information on U. S. and
      multilateral export control norms and practices.
      Conducts pre-license checks and post-shipment verifications on U.S. origin items to facilitate EAR compliance.
      Coordinates and supports U.S. export enforcement and export control programs.
      Supports Trade Center programs and activities, such as trade fair exhibits, trade missions and other trade promotion programs as
      related to Export Controls and with the coordination of BIS HQ.

Travel Required
50% or less - Frequency of travel will vary. These positions cover a wide area of responsibility to include mainland China and South
Korea.

Supervisory status
Yes

Promotion Potential
None



Job family (Series)

1811 Criminal Investigation
